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November 3, 2020

VIA ECF

Hon. Kiyo A. Matsumoto, District Judge
United States District Court, Eastern District of New York
225 Cadman Plaza East, Brooklyn, NY 11201

Re: Marilyn Booker v. Morgan Stanley & Co. LLC, et al., No. 1:20-cv-02662-KAM-LB

Dear Judge Matsumoto:

We represent Defendants Morgan Stanley & Co. LLC, James Gorman, and Barry Krouk
(“Defendants”) in the above-referenced matter. We write pursuant to Rule II.E. of Your Honor’s
Chambers Practices to respectfully request an adjournment of the pre-motion conference in
anticipation of Defendants’ Motion to Dismiss the Collective Action Complaint currently
scheduled for Thursday, November 12, 2020 at 11:00 a.m., because Defendants’ counsel is not
available on that date due to a scheduling conflict. This is Defendants’ first request for an
adjournment and this request does not affect any other scheduled dates in this matter. Plaintiff’s
counsel consents to Defendants’ counsel’s request. The parties conferred and are currently
available on November 19, November 23 (before noon), and November 24 for the pre-motion
conference, to the extent that these dates are also convenient for Your Honor.

We thank you for your consideration of this matter.

Respectfully submitted,

/s/ Krissy A. Katzenstein
Krissy A. Katzenstein

c: All counsel of record (via ECF)
